Case 2:15-cv-05193-ES-JAD Document 127 Filed 05/29/20 Page 1 of 1 PageID: 1739



                            UNITED STATES DISTRICT COURT
                                    DISTRICT OF NEW JERSEY

           CHAMBERS OF                                                   MARTIN LUTHER KING
         ESTHER SALAS                                                       COURTHOUSE
   UNITED STATES DISTRICT JUDGE                                             50 WALNUT ST.
                                                                              ROOM 5076
                                                                          NEWARK, NJ 07101
                                                                              973-297-4887




                                           May 29, 2020


                                        LETTER ORDER

       Re:      Elizabeth Kyle-Labell v. Selective Service System, et al.
                Civil Action No. 15-5193 (ES) (JAD)

Dear counsel:

        Pending before the Court is Plaintiff’s motion to certify the putative class. (D.E. No. 115).
The Court hereby schedules oral argument on the pending motion for June 25, 2020, at 2:00 p.m.,
to be conducted telephonically. The Court will provide counsel with the telephonic dial-in
instructions closer to the scheduled date.

      In view of the foregoing, the Clerk of Court shall TERMINATE docket entry number 115
for ADMINISTRATIVE PURPOSES ONLY.


       SO ORDERED.

                                                              s/Esther Salas
                                                              Esther Salas, U.S.D.J.
